Case 1:23-cv-03721-SCJ Document 1-177 Filed 08/21/23 Page 1 of 5




                 EXHIBIT B-165
     Case 1:23-cv-03721-SCJ Document 1-177 Filed 08/21/23 Page 2 of 5
                                                                                    FILED IN OFFICE


               IN THE SUPERIOR COURT OF FULTON COUN

                                   STATE OF GEORGIA

                                                             Case No. 2022-EX-000024
     IN RE: SPECIALPURPOSEGRANDJURY                          Judge Robert C.I. McBurney



          VERIFIED APPLICATIONFOR PRO HAC VICEADMISSION
       Pursuant to Georgia Uniform Superior Court Rule 4.4~I, Jonathan L. Williams, hereby

apply to this Honorable Court for admission to practice in the above-styled case pro hac vice. In .

support of this application, Applicant states as follows:




2.       My business address is:
          States United Democracy Center ·
         400 NW 7th Ave #14310
         Ft. Lauderdale, Florida 33311
         Phone: 850-706-0940
         jonathan@statesuniteddemocracy.org

3.       I have been retained to represent the followirnzclient<s):
         Donald Ayert John Farmer, Stuart              c/o Brian Kammer
         Gerson, Tanya Miller, J. Tom Morgan,          .241E LakeDr
         Sarah Saldaii~ William F. Weld, and           Decatur, GA 30030
         Shan Wu

4.       I am a member in good standing of the followingjurisdictions:
         Jurisdiction: Florida Bar
         Date admitted: 9/22/2015
         Still admitted: Yes         .
         Bar/RegistrationNo.: 117574•

         Jurisdiction: U.S. Supreme Court
         Date admitted: 5/31/2016
         Still admitted: Yes
         Bar/Registration No.: 298568

         Jurisdiction: U.S. Court of Appeals for the Fifth Circuit
         Date admitted: 7/29/2010
         Still admitted: Yes
         Bar/RegistrationNo.: NIA
Case 1:23-cv-03721-SCJ Document 1-177 Filed 08/21/23 Page 3 of 5



  Jurisdiction: U.S. Court of Appeals for the Seventh Circuit
  Date admitted: 1212/2022
  Still admitted: Yes
  Bar/Registration No.: NIA

 Jurisdiction: U.S. Court of Appeals for the Ninth Circuit •
 Date admitted: 112912015
 Still adinitted: Yes
 BarfR.egistrationNo.: NIA

 Jurisdiction: U.S. Court of Appeals for the Eleventh Circuit
 Date admitted: 613012015
 Still admitted: Yes
 Bar/Registration No.: NIA

 Jurisdiction: U.S. Court of Appeals for District of Columbia Circuit
 Date admitted: 813112015
 Still admitted: Yes
 Bar/Registration No.: NIA·

 Jurisdiction: U.S. District Court for the District of Columbia
 Date admitted: 61412012
 Still admitted: Yes
 Bar/Registration No.: NI A

 Jurisdiction: U.S. District Court for the Middle District of Florida
 Date admitted: 412612017
 Still admitted: Yes
 Bar/Registration No.: NIA

 Jurisdiction: U.S. District Court for the Northern District of Florida
 Date admitted: 7ll 512025
 Still admitted: Yes
 Bar/Registration No.: NI A

 Jurisdiction: U.S. District Court for the Southern District of Florida
 Date admitted: 1012012015
 Still admitted: Yes
 Bar/Registration No.: NI A

 Jurisdiction: District of Columbia Bar
 Date admitted: 411112011
 Still admitted: Yes
 Bar/Registration No.: 999708

 Jurisdiction: North Carolina Bar
 Reinstatement: 112512023
      Case 1:23-cv-03721-SCJ Document 1-177 Filed 08/21/23 Page 4 of 5

         Still admitted: Yes
         Bar/Registration No.: 40173

5.       I have never been a member of the State Bar of Georgia.

6.       I have never been denied pro hac vice admission in Georgia.

7.       I have never had pro hac vice admission revoked in Georgia.

8.       I have never been sanctioned or formally disciplined by a court in Georgia.

9.       I have never been the subject of any formal disciplinary proceedings.

10.      I have never been formaily held in contempt, or otherwise sanctioned by a court in a
         written order, for disobedience to its 'rules or orders.

11.      In the past two years I have not filed for pro hac vice admission in Georgia.

12.      I have reviewed and am familiar with the Georgia Rules of Professional Conduct and all •
         court rules relevant to practice before the court in which I am seeking admission.

13.      My local sponsor is:
         Brian S. Kammer
         Bar No: 406322
         241 E Lake Dr
         Decatur, GA 30030
         678-235-4964

14.      When I file my application, I will forward a copy to the State Bar -of Georgia along .
         with a check or money order made payable to the State Bar of Georgia in the amount
         of $275, as this is my first application filed this calendar year.                    •


    I, Jonathan L. Williams, applicant • the foregoing Verified Application for Pro Hae Vice
Admission, hereby verify the facts contain therein are true and accurate to the best of my
knowledge.


                                              ay,    -


      Applicant Sworn to before me this / ( day of~


                                                Notary Public
                                                My commission expires       A... ,c ]/Ii,, u, L (._
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     Case 1:23-cv-03721-SCJ Document 1-177 Filed 08/21/23 Page 5 of 5




            IN THE SUPERIOR COURT OF FULTON COUNTY

                             STATE OF GEORGIA


  INRE:                                                 Case No. 2022-EX-000024
  SPECIAL PURPOSE GRAND JURY


                         CERTIFICATE OF SERVICE

      This is to certify that I have caused a true and correct copy of the foregoing

document to be served via electronic mail to the following counsel of the parties:


      Jennifer L. Little                     Kieran J. Shanahan
      Jennifer Little Law, LLC               Shanahan Law Group, PLLC
      Jlittle@jllaw.com                      kieran@shanahanlawgroup.com

      Drew Findling                          Fani T. Willis
      Marissa Goldberg                       Will Wooten
      Findling Law Firm                      Office of the District Attorney
      drew@findlinglawfirm.com               Fani. willisda@fultoncountyga.gov
      marissa@findlinglawfirm.com            Will. wooten@fultoncountyga.gov



      This 22nd day of May 2023.


                                                                      Brian Kammer
                                                                Ga. Bar No. 406322
                                                                      241 ELakeDr
                                                                Decatur, GA 30030
                                                                Tel: (678) 235-4964
                                                          attybkammer@gmail.com
